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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

NATALIE WALKER                                                              CIVIL ACTION

VERSUS                                                                      NUMBER: 19-2527

UNIVERSITY OF LOUISIANA SYSTEM,                                             SECTION: “B” (4)
BOARD OF SUPERVISORS, ET AL

                                   ORDER OF DISMISSAL
        The Court having been advised that all of the parties to this action have firmly agreed upon

a compromise.

       IT IS ORDERED that the action be and is hereby dismissed without costs and without

prejudice to the right, upon good cause shown, to reopen the action or to seek summary judgment

enforcing the compromise if settlement is not consummated. The Court retains jurisdiction for all

purposes, including enforcing the settlement agreement entered into by the parties for a reasonable

period of time. Fed. R. Civ. P. 41(a)(2); Kokkonen v. Guardian Life Ins. Co. of Am., 511 US 375,

381-82 (1994); Hospitality House, Inc. v. Gilbert, 298 F.3d 424, 430 (5th Cir. 2002).

       COUNSEL        ARE      REMINDED         THAT,      IF   WITNESSES         HAVE      BEEN

SUBPOENAED, EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT TO

APPEAR.

       IT IS FURTHER ORDERED THAT ALL PENDING MOTIONS BETWEEN

SETTLING PARTIES ARE DISMISSED AS MOOT.

       New Orleans, Louisiana, this 24th day of July 2020



                                        __________________________________________
                                          SENIOR UNITED STATES DISTRICT JUDGE
